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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                      Plaintiff,                                       8:18CR166

       vs.
                                                                         ORDER
FRANCISCO LEYVA-VILLAPUDUA and IRMA
MARTINEZ-ONTIVEROS

                      Defendant.



        This matter is before the court on Defendant Martinez-Ontivero’s unopposed Motion to
Continue Trial [43]. Counsel recently received additional Rule 16 materials and needs additional
time to prepare for trial. For good cause shown,

        IT IS ORDERED that Defendant Martinez-Ontivero’s unopposed Motion to Continue
Trial [43] is granted as follows:

      1. The jury trial, as to both defendants, now set for December 11, 2018, is continued to
February 12, 2019.

         2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between today’s date and February 12, 2019, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act. Failure to grant a
continuance would deny counsel the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence. 18 U.S.C. § 3161(h)(6), (7)(A) & (B)(iv).

       Dated this 29th day of November 2018.

                                              BY THE COURT:

                                              s/ Michael D. Nelson
                                              United States Magistrate Judge
